
Turney, J.,
delivered the opinion of the Court.
A lien is an obligation, tie, or claim, annexed to, and attaching upon, any property, without satisfying which it can not be demanded by its owner: Tomlin’s Law Dictionary. A lien is a right in one man to retain that, which is in his possession till certain of his demands are satisfied. 2 East, 235.
It has been held by this Court, that an attorney or solicitor has a lien upon the amount of the judgment, or decree, or the property of his client, to secure the payment of his fee in the cause; that is, that he may, by application to the Court, or instructions to the Clerk, Sheriff, or Master, prevent an ap*291propriation of the recovery to the use of his client, until his fee is satisfied.
The lien of an attorney affects the interests of only his own client, and does not diminish the rights of his adversary.
Then, if Neil, receiver, etc., for the Bank of Tennessee, recovered judgment against Staten, the latter had the right to discharge the whole of the judgment and interest in the issues of the bank, and a tender of - the same was good.
When the funds are paid into the office of the Clerk, or Sheriff, the attorney procuring the judgment has a lien upon the full amount for the satisfaction of his fee, due in par or current funds. The officers of the Court are entitled to their costs in good currency.
Affirm the judgment.
